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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                      CHARLESTON DNISION


IN RE: C. R. BARD, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION
                                                                                      MDL2187


THIS DOCUMENT RELATES TO THE
CASE(S) IN THE EXHIBIT A ATTACHED HERETO


                                   INACTIVE DOCKET ORDER


        The Court has been advised by counsel that in the cases listed on the attached Exhibit, the

plaintiffs and Tissue Science Laboratories Limited, C. R. Bard, Inc., and Sofradim Production

 (collectively referred to as "Defendants") have agreed to a settlement model with regard to

Defendants. The Court, therefore, finds it unnecessary to conduct further proceedings or to keep

these cases on the active docket. Accordingly, the Court ORDERS as follows:

        1.        All discovery deadlines are continued until further order of the Court.

        2.        That the Clerk retire each of the cases listed on the attached Exhibit A from the

 active docket.

        3.        Plaintiffs and Defendants may submit an agreed order of dismissal with prejudice

on or before July 17, 2017; if settlements are not finalized and dismissal orders are not submitted

by July 17, 2017, then the Court will have a hearing to determine the appropriate action

pertaining to any remaining cases on the inactive docket.

        Counsel for plaintiffs and defendants are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed



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to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff's refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from the plaintiff explaining such refusal or inability.

        The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2187 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to send a

copy of this Order to counsel of record and any unrepresented party. The Clerk is further DIRECTED

 to link this Order to the Proposed Inactive Docket Order filed at ECF No. 2220.
                                                           JOSEPH R. GOODWIN
                                                           UNITED STATES DISTRICT COURT




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                           EXHIBIT A - CLARK, LOVE AND HUTSON

        CIVIL CASE NUMBER                                      Case Name
   (listed numerically in ascendina order)
               2:11-cv-00941                 Bennett Bo and Karl
               2: 12-cv-OO199                Vandergriff, Billie
               2:12-cv-0021 O                Davis, Betty & Charles
               2:12-cv-00211                 Gustin Teresa & Garv
               2:12-cv-00213                 Stollinas, Susan
               2:12-cv-00215                 Dovel, Ravlene & Llovd
               2:12-cv-00870                 Slav, Marv and Buddv
               2:12-cv-02387                 Murrav, Gave and Larry A.
               2:12-cv-02390                 Lingle, Deborah and Paul Tiffany
               2: 12-cv-02391                Pritt, Diana and Grover
               2:12-cv-02787                 Leatherman, Debbie and Tony
               2: 12-cv-03399                Barnard, Sherrie
               2: 12-cv-03499                Pratt, LaAnn (Lou Ann) B.
               2:12-cv-03500                 Stokes, Betsv C. and Charles W.
               2:12-cv-03563                 Mvles, Tammie
               2:12-cv-04155                 Osborne, Lorheda M. and Robert
               2:12-cv-04239                 Hamlin, Katherine
               2:12-cv-04532                 Cheek, Tonva and Patrick
               2: 12-cv-04533                Miller, Kerri and Jason L.
               2:12-cv-05052                 Everhart, Cindy
               2: 12-cv-05054                Tinch, Judy
               2: 12-cv-05107                Lachney, Dezarae and Harvey
               2:12-cv-05338                 Hickman, Anita
               2:12-cv-06311                 Moore, Michelle D. and Joshua
               2:12-cv-07195                 Herrell, Linda
               2:12-cv-07377                 Ernsoiker, Delores
               2: 12-cv-0851 0               Leal, Elodia and Roaerio
               2:12-cv-08512                 Warden Marilyn
               2: 12-cv-09024                Shaw, Beatrice
               2:12-cv-09160                 Carter, Claudia and Larrv
               2:12-cv-09175                 Norris, Norma and Michael
               2:13-cv-00617                 Wasson, Carol and Larry
               2:13-cv-01607                 Gilmore, Paula and Richard
               2: 13-cv-02613                Devault, Roberta
               2:13-cv-02908                 Soainhoward, Theresa
               2:13-cv-03577                 Wilcox, Lorrine
               2:13-cv-03973                 Mannina-Smith, Marilyn
               2:13-cv-10207                 Fisher, Julie
               2:13-cv-10213                 Allen, Sherrv
               2:13-cv-10506                 Zucca, Sandra K.
               2:13-cv-12313                 Boalick, Kim and Robert Boalick
               2:13-cv-22885                 Richmond, Wilma L. and Rodney D.
               2:13-cv-22891                 Nick, Diana Faye
               2:13-cv-22892                 Fox, Marion C. and Harrv
               2:13-cv-24339                 Crecelius, Julie A. and Alan D.
               2: 13-cv-24343                Moore, Laura J. and Ronald
               2:13-cv-24374                 Holt, Connie G. and William D.
               2:13-cv-24635                 Barrie, Margaret C. and Donald F.
               2:13-cv-24636                 Smith, Clara J.
               2: 13-cv-24637                Suchvna, Patricia and Anthony H.
               2:13-cv-25152                 Caroenter, Lois M. and Clavton 0.
               2:13-cv-25156                 Cuevas, Carmen and Ramiro
               2:13-cv-25159                 Highland, Bettv J. and Steve E.
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                           EXHIBIT A-CLARK, LOVE AND HUTSON

               2:13-cv-25160              Jones, Diane and Charles
               2:13-cv-25161              Lachapelle, Letitia
               2:13-cv-25162              Larrison, Geneva L. and Thomas P. Geneva C. Lucas-Larrison
               2:13-cv-25164              Santa, Adriana
               2:13-cv-25165              Tucker, Janice M. and Charles L.
               2:13-cv-25218              Clement, Rosemary A. and Michael R.
               2:13-cv-25221              Cox, Shelia M. and James G.
               2: 13-cv-25223             Downard, Karen E. and Randell L.
               2: 13-cv-30508             Nachtiaall, Shirley and Gordon
               2:13-cv-30511              Jordison, Alene A. and Brad
               2:13-cv-30514              Shoemaker, Phyllis J.
               2:13-cv-30515              Valentine, Linda S.
               2:13-cv-30520              Allen, Pearl A.
               2: 13-cv-30521             Hamlett, Erma J. and Michael L.
               2:13-cv-30523              Farmer, Beverlv M.
               2:13-cv-30915              Potter, Helen K. and Charles E.
               2:13-cv-30916              Harvey, Cheryl A.
               2:13-cv-30917              Varner, Myra J. and Virail J.
               2:13-cv-31861              Blackburn, Ethelyn E. and James
               2:13-cv-31999              Lennox, Linda M.
               2:13-cv-32089              Martin, Eileen A. and William
               2: 13-cv-32090             Dubiel, Jozefa
               2:13-cv-32815              Durco, Barbara A.
               2: 13-cv-32820             Johnson, Erin K.
               2: 14-cv-00362             Hamilton, Deborah J. and Jefferv
               2:14-cv-00367       Merlyn Harville, Mervin D. and Conrad J. Sorout
               2:14-cv-00368              Keith, Nelda R. and Franklin
               2:14-cv-00378              Sanders, Shelbv J.
               2:14-cv-00379              Shuey, Gloria M. and William A.
               2: 14-cv-O 1203            Lanaerud, Mary R.
               2:14-cv-01216              Parker, Jean F. and James S.
               2:14-cv-01217              Ayala, Lorena and Martin, Sr.
               2:14-cv-01223              Donahue, Ruth H. and Thomas E.
2:15-cv-1705   2:14-cv-01705              Olea, Rosa M.
               2:14-cv-01975              Alford, Lorrie L. and Johnnie T., Jr.
               2:14-cv-01983              Beaird, Martha
               2: 14-cv-O 1993            Broiakowski, Cathv E. and Joseoh S.
               2:14-cv-01999              Campbell, Rhoda Fave and Vance
               2:14-cv-02004              Candler, Sammie J.
               2: 14-cv-02025             Dyer, Kristi and James
               2: 14-cv-02037             Hauk, Ruth A.
               2:14-cv-02048              Clark, Marv G.
               2:14-cv-02050              DeMoss, Catherine A. Hamilton and Willis G.
               2:14-cv-02057              Jacobs, Amanda L.
               2:14-cv-02068              Martinez, Elizabeth A. and Beniano F.
               2: 14-cv-02069             Livsey, Janelle F. and Joe D., Sr.
               2: 14-cv-02073             McCallister, Tammie L.
               2:14-cv-02074              Roberts, Rose M.
               2:14-cv-02080              Van Cleave, Evonne
               2:14-cv-02088              Reinhart-Churches, Kathryn and Chris
               2:14-cv-02091              Honaker, Melinda Riddle
               2: 14-cv-02096             Russell, Billie D. and Glen
               2: 14-cv-021 06            Staley, Kathy A.
               2:14-cv-02113              Vaaalatos, Maraaret J. and Demetrios
               2: 14-cv-02120             Youna, Judith G.
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           2: 14-cv-02122            Weber, Charlotte A.
           2:14-cv-02124             Yurko, Pamela
           2:14-cv-02311             Demro, Paula M.
           2:14-cv-02314             Durden, Tammy
           2:14-cv-02317             Earnest, Margie R.
           2: 14-cv-02326            Mondora, Elizabeth
           2:14-cv-02332             Nova, Meryl A.
           2:14-cv-02335             Payne, Janet A.
           2:14-cv-02344             Vincent, Donna F.
           2:14-cv-02594             Bauman, Barbara J.
           2: 14-cv-02603            Graddv, Pattie L.
           2:14-cv-02605             Schoeller, Evelyn Mae
           2: 14-cv-03942            Dennis, Delmary R. and Richard E.
           2:14-cv-03947             Roberts, Joyce E. and Sam W.
           2: 14-cv-03953            Woods, Diane R.
           2: 14-cv-04064            Keyes, Kathy L.
           2: 14-cv-04066            Paroli, Amanda N. and Paul
           2: 14-cv-04068            Sullender, Brenda and Robin S.
           2: 14-cv-04222            Busch, Taffy
           2: 14-cv-04225            Falls, Marv J. and Garv L.
           2: 14-cv-04228            Hale, Tammv L. and Georae
           2: 14-cv-04233            Harmon, Linda and Owen W., Jr.
           2: 14-cv-04240            Lackey, Sharon D. and Gaston
           2:14-cv-04247             Medina, Inez
           2:14-cv-04251             Murray, Tesa L. and James Viscovich
           2:14-cv-04255             Neely-Norman, Sheila and Jimmy Norman
           2:14-cv-04258             Pattison, Joyce A.
           2:14-cv-04267             Stafford, Joyce G. and Daniel
           2:14-cv-04270             Vina, Heather and Michael
           2:14-cv-0427 4            Walker, Lisa M. and Robert W. Bunch
           2:14-cv-04992             Duckworth, Stella F.
           2: 14-cv-04997            Johnston, Ellen K.
           2: 14-cv-05009            Rich, Lois L. and Oval
           2:14-cv-05013             Robinson, Susan J. and Kellv D.
           2:14-cv-05016             Spencer, Eleanor
           2: 14-cv-05019            Vaughn, Cynthia and David E.
           2: 14-cv-05023            Walden, Christie and Robert
           2: 14-cv-05029            Walker, Delpha R. and Perry 0.
           2: 14-cv-05774            Massey, Cynthia Dianne
           2:14-cv-06375             Carreca, Beverly A.
           2:14-cv-06379             Cobb, Hazel W. Avant and Tommy A.
           2:14-cv-06383             McKav, Dianna L. and Robert A.
           2: 14-cv-06621            Clifford, Frances M.
           2: 14-cv-06623            Cox, Mary Ann
           2: 14-cv-06625            Emmons, Joyce F.
           2:14-cv-06636             Thomas, Marv C.
           2:14-cv-08052             Smith, Vivian L. and Barry L.
           2:14-cv-08526             Arnone, Maria L. and Joseph M., Jr.
           2:14-cv-08539             McElhinnv, Edna M. and Terrance
           2:14-cv-08550             Hicks, Exie M. and Donald
           2:14-cv-08556             Condor, Sally A. and Daniel
           2:14-cv-08562             Myers, Cora D. and Terry F.
           2:14-cv-10153             Huffman, Tami R.
           2:14-cv-10157             Rosario, Marv J.
           2:14-cv-10159             Tracev, Sue A. and Robert R.
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           2:14-cv-10160             Zube, Charlene A.
           2:14-cv-11575             Deoarmo, Norma L. and Billy
           2: 14-cv-11579            O'Connor, Colette M.
           2: 14-cv-12278            Mannino, Johnnie
           2:14-cv-25747             Kunz, Cynthia S. and Bruce M.
           2:14-cv-25748             Hendrickson, Peaav J.B. and James
           2:14-cv-25751             Sickels, Jill
           2:14-cv-25769             Dillinoham, Noelia R. and David 0.
           2:14-cv-25780             Hadnot, Carol A. and Lester
           2:14-cv-25784             Vooel, Shirley J.
           2:14-cv-25785             Santos, Teresa T.
           2:14-cv-25786             Escarceoa, Guillermina Guillermina Escarcega Pillado
           2: 14-cv-25787            Blair, Maraaret D. and Darren P.
           2:14-cv-25789             Gonzales, Lavonne L. and Jose
           2: 14-cv-25790            Ferouson, Gretchen J.
           2:14-cv-27332             Shafer, Patsy Ann and Ronald E.
           2: 14-cv-27765            Johnson, Donna
           2: 14-cv-27766            Kelley, Marv Kay and Byron B.
           2:14-cv-27767             Horton, Eva and David
           2:14-cv-27768             Gomez, Sylvia
           2:14-cv-27769             Delaado, Nereida and Martin A.
           2:14-cv-27770             Hatfield, Irene
           2:14-cv-29178             Zawadzki, Kathrvn
           2:14-cv-29179             Calvetti, Rosantina S. and Armando H.
           2:14-cv-29180             Leonard, Pamela
           2:14-cv-29182             Licea, Manuela
           2:14-cv-29185             Biddy, Carol G. and Sam
           2:14-cv-29189             Alarcon, Georgina
           2:14-cv-29191             Deets, Jane K.
           2: 14-cv-29208            Hicks, Alicia
           2:14-cv-29214             Jones, Rose A. Ann
           2:14-cv-29217             Hurtado, Rosaline and Jose J.
           2: 14-cv-29225            Howe, Melody and David
           2: 14-cv-29227            Hyder, Dean
           2:14-cv-30242             Collum Quam, Rhonda and David G.
           2:15-cv-01701             Green-Napolitano, Darlene and Brian E. Woolwine
           2:15-cv-01702             Morris, Maraaret M.
           2:15-cv-01704             Mejia, Mirna N.
           2: 15-cv-O 1706           Torres, Fabiola and Gerardo
           2:15-cv-01747             Lopez, Emma E. and Nelson
           2:15-cv-01748             Rios, Jovita and Juan M.
           2:15-cv-01756             Verhaoen, Susan
           2:15-cv-01757             Lindaren, lonne L. and Ron
           2:15-cv-01758             Balzano, Donna M. and James
           2:15-cv-01759             Ball, Sandra J. and Rudy A.
           2: 15-cv-O 1760           Demulder, Janice M.
           2:15-cv-01761             Glowacki, Audree B. and Mike
           2:15-cv-01763             Monoiello, Kathy
           2:15-cv-01764             Staehle, Debra L.
           2:15-cv-01780             Thompson, Suzanne M.
           2:15-cv-01785             Cervantes, Maria G. and Miauel Flores
           2:15-cv-01803             Stewart, Lorraine A. and Don Joseph
           2:15-cv-01805             Tinsley, Marv Jane
           2:15-cv-01806             Eaaert, Twilla G. and Timothy C.
           2:15-cv-01808             Boyd, Linda S.
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           2:15-cv-01810              Sheeks, Brenda S. and Fred
           2:15-cv-01811              Dunivant, Sharon D.
           2:15-cv-01814              Bible, Patricia C. and James C., Ill
           2: 15-cv-O 1824            McKee, Lydia M.
           2:15-cv-01826              Todd, Susan M. and Ron
           2:15-cv-01827              Gross, Crvstal E.
           2:15-cv-01830              Cox, Bettv G. and Allen L.
           2:15-cv-01833              Hardv, Auausta L.
           2:15-cv-01991              Phillips, Jewell Dee
           2:15-cv-01992              Garibay, Blanca
           2:15-cv-01993              Health, Sarah and David R. Kelley
           2:15-cv-02324              Noyes, Julie
           2: 15-cv-02326             Romero, Puahiilani and Clinert Cilnert
           2: 15-cv-02328             Nash, Melissa and Clav
           2: 15-cv-03066             Shoemaker, Michelle L.
           2: 15-cv-03280             Reves, Rosa Benitez
           2:15-cv-03440              Wilson, Aoril A.
           2: 15-cv-03521             Wysong, Debbie J. and Darrell
           2:15-cv-03639              Keesee, Judith C.
           2:15-cv-03672              Araiza, Lupe G.
           2:15-cv-03675              Harrison, Pamela Kearns and Terrv D.
           2:15-cv-03778              Sanchez, Maria A.
           2:15-cv-03779              Chastain, Janice S.
           2:15-cv-03782              Gonzales, Diana and Omero
           2:15-cv-03784              Trumblv, Valerie L. and Ravmond E.
           2:15-cv-03846              Powlics, Kathrvn A.
           2:15-cv-03850              Medlin, Carolvn A. and Curtis L.
           2: 15-cv-03890             Eads, Gale Marie
           2:15-cv-03985              Lockhart-Conrad, Kimberlv Jo
           2: 15-cv-03986             Jefferson, Karen D.
           2: 15-cv-04041             Glover, Laura L
           2:15-cv-04056              Garcia, Kathleen Marie and Raul
           2:15-cv-04112              Maletta, Sue A.
           2:15-cv-04113              Sharon, Patricia Ann
           2:15-cv-04203              Christian, Christi
           2:15-cv-04380              Holland, Pamela S.
           2:15-cv-04390              Albarado, Joseohine
           2:15-cv-04881              Huntlev, Vickie D.
           2:15-cv-04892              Bailev, Debora H. and Winford H.
           2:15-cv-04992              Dailev, Debra and Greg
           2:15-cv-04993              Landry, Maraaret and Arrick
           2: 15-cv-04996             King, Delma and Arthur
           2:15-cv-05548              Czeiszperger, Madonna A. and George R.
           2:15-cv-05549              Schafer, Rosemarv M. and Ted Allen
           2: 15-cv-05868             Gnerlich, Janet L.
           2:15-cv-06007              Kassner, Linda J. and Ronald R.
           2:15-cv-06995              Daniel, Marilvn J.
           2:15-cv-07018              Zeigler, Linda B.
           2:15-cv-07134              Milligan, Wendy and Steve
           2:15-cv-07137              Rav, Sandra and James Chris, Jr.
           2:15-cv-07144              Helm, Dorothy J. and Earl
           2:15-cv-07450              Woerner, Bettv J.
           2:15-cv-07771              Watson, Wanda J. and Earnest
           2:15-cv-07927              Legendre, Joanne S.
           2: 15-cv-08474             Martin, Pamela R.
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           2: 15-cv-08652           Clav, Brenda J. and Dennis L.
           2: 15-cv-08666           Smith, Linda J.
           2:15-cv-08672            Brown, Jean M.
           2:15-cv-08673            Jones, Delores J. and Tony L.
           2:15-cv-08781            Gonzalez, Nuris and Rhadames
           2:15-cv-08783            Hall, Cvnthia V.
           2:15-cv-08797            Gaddis, Marv E. and Carlton L.
           2:15-cv-08805            Hudson, Svlvia J.
           2:15-cv-08841            Wright, Sharon S.
           2:15-cv-08869            Harris, Carolyn Sue and Olton
           2:15-cv-08873            Pedroza, Carmen A.
           2: 15-cv-09205           Stees, Susan Beth and Richard
           2:15-cv-09474            Land, Linda J. and Michael B.
           2: 15-cv-09493           Harris-Davis, Brenda G. and William R. Davis
           2: 15-cv-09494           Artaiz, Ava M. and lanacio C.
           2:15-cv-09754            Pascoe, Lorraine M.
           2:15-cv-10127            Hinson, Pamela A. and John W.
           2:15-cv-10151            Vanderwerf, Deborah
           2:15-cv-10152            Stewart, Mildred B.
           2:15-cv-10161            Gasunas, Clara
           2:15-cv-11272            Brown, Susan A. and Mark
           2:15-cv-11277            Fintikas, Patricia A. and Louis J.
           2:15-cv-11360            Crvmes, Vivian Joyce and James H.
           2:15-cv-11361            Hiahland, Christal L.
           2:15-cv-11363            Mevers, Rose L.
           2: 15-cv-11375           Herman, Marv A.
           2:15-cv-14644            Gonzalez, Berinthia
           2:15-cv-14825            Daniels, Alice M.
           2:15-cv-14829            Roberts, Aoril and Duane V.
           2: 15-cv-14830           Woods, Anna M.
           2:15-cv-14919            Stratton, Linda C. and Dewavne
